‘ CaSe 1-17-46613-nh|' DOC 41-1 Filed 03/08/18 Entered 03/08/18 15243:41

 

" JEXHIBH A

 

 

CaSe 1-17-46613-nh| DOC 41-1 Filed 03/08/18 Entered 03/08/18 15243:41

iii MND§ K_ WYIITACRE_ 1 (e4s} ss7-7332(ceu)

:’: __*'__"’_2_';':;_.!.':;: ~‘ ' " ‘.:___. _.'_ r..".:__:.~_‘i_._:.:..'.~;:_T.::;_____.'" ""’_':.'_;:.."..':'.1":__.":.'_~_| bkwhitacre@live.com
: W\.wv.|inkedin.com/in/brenda-whitacre
PROFILE OFFICE MANACER/ B(')()KKEI".I’ER " """"""""""""""""""""

 

I am a highly qualified and dedicated critical-thinker with over 20 years of experience in the construction industry.
I am adept at negotiating contracts, budgeting, procurement, generating leads and managing business negotiations
and sales operations towards the successful attainment of the organizational goals of maintaining good client
relationships and furthering customer satisfaction

COMPETENCIES

 

 

Strong written and verbal communication skills; Motivated, hardworking and result oriented team leader

Project Management Administration covering all facets of construction billing including cost estimating, progress
billing, expenses, etc.

Increased retail revenues - over 100% in 12 months for consumer electronics importer

Completed layout, ordering inventory, customs clearance, opening and managing new expanded retail consumer
electronics and appliance center for direct importer in the Caribbean.

In-depth background in achieving ambitious projects 011-time and On budget

 

SKILLS AND EXPERTISE

MS Office Bank Reconciliations Bank Wires
QuickBooks Pro Time Management Contracts

Sage 100 Purchasing Proposals

AR/AP Adrninistrative Skills Online Banl<ing
Change Orders Customer Service Skills Lien Waivers
Payroll DOB Documents NY Notary Public
AL»‘-\ Invoicing Bank Deposits Budget Management

PROFESSIONALV ExPERlENCE

Esma Management/JEB Management/Royal Hotels & Resorts | Long lsland City, NY Jan 2012 -Current
(Bookkeeper / 0ffice Manager)
¢ Answered and directed phone calls, organized and scheduled appointments
Accounts payable, accounts receivable, bank reconciliations and journal entries
Rental Propelty Manager
» Efticiently planned meetings and took detailed minutes
Wrote and distributed email, correspondence memos, letters, taxes and forms
~ Developed and maintained a filing system and maintained office policies and procedures
- Updated data (invoices, billing, settlement agreements, etc.) in order to develop a coherent accounting
system
Ordered office supplies, researched new consultants and suppliers and acted as the insurance administrator

 

Schiff Gold, LLC | Precious Metals Company New Yorl<, NY Feb 2016 - Jun 2017
(Accounting Department/Operations)
= Accounts payabie, accounts receivable
Bank reconciliation
° Set up wire transfers
Processed incoming and outgoing orders in Sage 100 and in the order management system
v Responsible for matching up incoming wire transfers with orders placed, sending out tracking #'s for orders,
Ordering supplies, filing and scanning documents

 

CaSe 1-17-46613-nh| DOC 41-1 Filed 03/08/18 Entered 03/08/18 15243:41

BRENDA WH|TACRE [845] 857-7332 [Cell]

Revolt Energy, LLC ] Retrofit Lighting ESCO New York, NY May 2015 - Feb 2016
(Bookkeeper/ Office Manager)
Accounts Receivable and Accounts Payable
Bank Reconciliations
» Verified that transactions are recorded in the correct day book, vendors ledger, and customer ledger
Brought the books to the trial balance stage and performed partial checks of the posting process
Entered data, maintained records and launched reports and financial statements
Ordered supplies and made arrangements for service technicians

TAG Consultants, Inc. | Owners Representative New York, NY Oct 2006 - Dec 2010
(Project Administrator/Office Manager)
Recruited to serve in dual role for bookkeeper and office administration
Administrator for employee benefit programs
Ensured standards and requirements were met through conducting quality assurance tests
Reviewed Contractor Draw requests and administered payments
o Set up and administered wire transfers
o Accounts payable, accounts receivable, bank reconciliations on multiple bank accounts
Facilitated compliance with safety & health standards and ensured maximum office operations productiver
a Provided support to Superintendents and Project Managers.
Arranged travel in conjunction with in-house affairs, and arranged local transportation when necessary

Neiman Marcus Last CalI | Central Valley, NY Jan 2002 - May 2007
(Customer Service Manager)
Administered Cash office procedures, and trained associates in cash office procedures
improved customer service experience, created engaged customers and facilitated organic growth
Took ownership of customers issues and followed problems through to resolution
Responsible for management and staff training in front end procedures
v Maintained an orderly workfiow according to priorities

Mohonk Mountain House | New Paltz, NY Aug 2001 - Mar 2002
(Conference Center Administrator)
= Scheduled and managed all event bookings for internal and external clients
o Assisted clients with office requests and services
a Assisted conference services with setup, tear downs and scheduling of events
c Provided additional logistical support for Banquet and Sales departments
Managed scheduling requirements of the conference center assistants
Provided a high level of professional, friendly service and built strong proactive relationships with internal
and extemai clients.

EAR_LI_E_R BACKG__R_OUND

Summer Restaurant Manager

Consumer Electronics and Appliance Center Manager, Cayman Islands

Operations and Retail Manager for sole Beverage lmporter, Cayrnan Islands

Construction Manager, Commercial and Federal construction company, ARC Systems

These developed my outstanding CM, operations, planning, coordination and customer service skills

LISCENSES AND PROFESSIONAL MEMBERSH]PS
Licensed New York Notary Public, New York County
National Notary Association

American Association of Notan'es

 

